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                                                    UNITED STATES DISTRICT COURT
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                                                          DISTRICT OF NEVADA
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                                                                      2:08-CR-332 JCM (GWF)
                  7     UNITED STATES OF AMERICA,

                  8                    Plaintiff,
                  9     v.
                10
                        DWIGHT RAMON POLLARD,
                11
                                       Defendant.
                12
                13                                                 ORDER
                14           Presently before the court is the government’s sealed motion to unseal the defendant’s plea
                15    memorandum. (Doc. # 481). The defendant filed a non-opposition. (Doc. # 482).
                16           The government seeks to unseal the plea memorandum for the purpose of responding to
                17    defendant Pollard’s objection to the entry of an order of forfeiture. Defendant has stated he “has no
                18    objection to this reasonable request.”
                19           Accordingly,
                20           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s motion
                21    to unseal the plea memorandum of Dwight Ramon Pollard (doc. #481) be, and the same hereby, is
                22    GRANTED.
                23           IT IS FURTHER ORDERED that the clerk’s office shall unseal the plea memorandum of
                24    defendant Dwight Ramon Pollard.
                25           DATED April 10, 2013.
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                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
